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&lt;div&gt;22CA0875 Peo v Avila 10-03-2024 &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;COLORADO COURT OF APPEALS &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Court of Appeals No. 22CA0875 &lt;/div&gt;
&lt;div&gt;Adams County District Court No. 18CR3756 &lt;/div&gt;
&lt;div&gt;Honorable Patrick H. Pugh, Judge &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;The People of the State of Colorado, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Plaintiff-Appellee, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;v. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Deshawn Anthoney Avila, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Defendant-Appellant. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;JUDGMENT AFFIRMED&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Division II &lt;/div&gt;
&lt;div&gt;Opinion by JUDGE &lt;span&gt;FOX&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Johnson&lt;span&gt; and Schock, JJ., concur &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;NOT PUBLISHED PURSUANT TO C.A.R. 35(e) &lt;/div&gt;
&lt;div&gt;Announced October 3, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Philip J. Weiser, Attorney General, Carmen Moraleda, Senior Assistant &lt;/div&gt;
&lt;div&gt;Attorney General, Denver, Colorado, for Plaintiff-Appellee &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Tanja Heggins, Alternate Defense Counsel, Denver, Colorado, for Defendant-&lt;/div&gt;
&lt;div&gt;Appellant &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;1 &lt;/div&gt;
&lt;div&gt;Â¶ 1&lt;span&gt; &lt;/span&gt;&lt;span&gt;Defendant, Deshawn Anthoney Avila, appeals the judgment of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;conviction entered on jury verdicts finding him guilty of attempted &lt;/div&gt;
&lt;div&gt;second degree murder, attempted sexual assault, and first degre&lt;span&gt;&lt;/span&gt;e &lt;/div&gt;
&lt;div&gt;assault.&lt;span&gt;  &lt;span&gt;We affirm&lt;/span&gt;. &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;I.&lt;span&gt; &lt;span&gt;Background &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 2&lt;span&gt; &lt;/span&gt;&lt;span&gt;The victim, A.V., testified that Avila was her ex-&lt;span&gt;husbandâs first &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;cousin, and before the assault, he was her close friend.  On the &lt;/div&gt;
&lt;div&gt;evening in question, the victim invited Avila to go to a nightclub &lt;/div&gt;
&lt;div&gt;with some friends.  Avila and the victim returned to her apartment &lt;/div&gt;
&lt;div&gt;around 2 a.m., and she offered that Avila could sleep in her &lt;span&gt;&lt;/span&gt;bed and &lt;/div&gt;
&lt;div&gt;that she would sleep in her sonâs bedroom.  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 3&lt;span&gt; &lt;/span&gt;&lt;span&gt;The victim testified that she awoke to Avila attacking her on &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;her sonâs bedroom floor.  She testified that she had &lt;span&gt;&lt;/span&gt;a &lt;span&gt;head wound &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that was bleeding profusely, that one of her eyes was swollen sh&lt;span&gt;&lt;/span&gt;ut&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and that Avila strangled her until &lt;span&gt;âeverything was black.â &lt;/span&gt; A frying &lt;/div&gt;
&lt;div&gt;pan &lt;span&gt;was later determined to be the weapon used to hit&lt;span&gt;&lt;/span&gt; the victimâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;head.   &lt;/div&gt;
&lt;div&gt;Â¶ 4&lt;span&gt; &lt;/span&gt;&lt;span&gt;The victim also testified that her pants were unbuttoned and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;pulled down partially, although she had no memory of a sexual &lt;/div&gt;
&lt;div&gt;assault occurring.  The victim eventually fought Avila off,&lt;span&gt;&lt;/span&gt; and he &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div id="pf3" data-page-no="3"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;2 &lt;/div&gt;
&lt;div&gt;fled the scene.  She called 911, and an ambulance transported her &lt;/div&gt;
&lt;div&gt;to the emergency room.   &lt;/div&gt;
&lt;div&gt;Â¶ 5&lt;span&gt; &lt;/span&gt;&lt;span&gt;The prosecution charged Avila with attempted first degre&lt;span&gt;&lt;/span&gt;e &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;murder, three counts of sexual assault, two counts of first degree &lt;/div&gt;
&lt;div&gt;assault, and two crime of violence sentence enhancers.  The &lt;/div&gt;
&lt;div&gt;prosecution later amended the sexual assault counts to attempted &lt;/div&gt;
&lt;div&gt;sexual assault.   &lt;/div&gt;
&lt;div&gt;Â¶ 6&lt;span&gt; &lt;/span&gt;&lt;span&gt;At trial, Avila did not dispute that the victim was brutally &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;attacked but argued that he was not the perpetrator.  To s&lt;span&gt;&lt;/span&gt;upport &lt;/div&gt;
&lt;div&gt;the victimâs testimony that Avila committed the assault, the &lt;/div&gt;
&lt;div&gt;prosecution presented evidence that (1) &lt;span&gt;Avilaâs DNA was &lt;/span&gt;found on &lt;/div&gt;
&lt;div&gt;the handle of the frying pan; (2) Avila left his phone &lt;span&gt;at the victimâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;apartment when he fled; (3) there were no signs of forced entry in &lt;/div&gt;
&lt;div&gt;the victimâs apartment&lt;span&gt;; and (4) Avila had scratches and bruises &lt;span&gt;&lt;/span&gt;on &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;his body consistent with defensive wounds.   &lt;/div&gt;
&lt;div&gt;Â¶ 7&lt;span&gt; &lt;/span&gt;&lt;span&gt;A jury found Avila guilty of the lesser included offense of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;attempted second degree murder, attempted sexual assault, and &lt;/div&gt;
&lt;div&gt;first degree assault.  The court sentenced Avila to twenty-five years &lt;/div&gt;
&lt;div&gt;to life in the Department &lt;span&gt;of Correctionsâ custody&lt;/span&gt;.  It imposed a &lt;/div&gt;
&lt;div&gt;determinate sentence of twenty-five years on the attempted mur&lt;span&gt;&lt;/span&gt;der &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;3 &lt;/div&gt;
&lt;div&gt;count, ten- and twelve-year terms on the assault counts, and &lt;/div&gt;
&lt;div&gt;indeterminate sentences of ten years to life on the sexual a&lt;span&gt;&lt;/span&gt;ssault &lt;/div&gt;
&lt;div&gt;counts, all to run concurrently.   &lt;/div&gt;
&lt;div&gt;II.&lt;span&gt; &lt;span&gt;Trial Errors &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 8&lt;span&gt; &lt;span&gt;On appeal, Avila challenges two of the trial courtâs evidentiary &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;rulings that he claims individually or cumulatively require &lt;span&gt;&lt;/span&gt;reversal.  &lt;/div&gt;
&lt;div&gt;He first asserts that the trial court erroneously excluded evi&lt;span&gt;&lt;/span&gt;dence &lt;span&gt;of&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;another ma&lt;span&gt;le&lt;/span&gt;&lt;span&gt;âs DNA on the victimâs body under the rape shield &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;statute.  He then asserts that the court admitted photograph&lt;span&gt;s &lt;/span&gt;of the &lt;/div&gt;
&lt;div&gt;victimâs injuries that were unnecessarily cumulative &lt;span&gt;and prejudicial &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;under CRE 403.  &lt;/div&gt;
&lt;div&gt;A.&lt;span&gt; &lt;span&gt;Standard of Review &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 9&lt;span&gt; &lt;/span&gt;&lt;span&gt;Avila asserts that his challenges are of constitutional &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;dimension.&lt;span&gt;  &lt;span&gt;âOnly those errors âthat specifically and directly offend &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;a defendantâs constitutional rights are âconstitutionalâ in nat&lt;span&gt;&lt;/span&gt;ure.ââ  &lt;/div&gt;
&lt;div&gt;People v. Flockhart&lt;span&gt;, 2013 CO 42, Â¶ 20 (quoting &lt;/span&gt;Wend v. People&lt;span&gt;, 235 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;P.3d 1089, 1097 (Colo. 2010)).  &lt;/div&gt;
&lt;div&gt;Â¶ 10&lt;span&gt; &lt;/span&gt;&lt;span&gt;Trial courts retain broad discretion in determining the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;admissibility of evidence and the extent and type of cross-&lt;/div&gt;
&lt;div&gt;examination they will allow.  &lt;span&gt;People v. Lopez&lt;/span&gt;, 2016 COA 179, &lt;span&gt;&lt;/span&gt;Â¶ 43.  &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;4 &lt;/div&gt;
&lt;div&gt;But â[a]n erroneous evidentiary ruling may rise to the level of &lt;/div&gt;
&lt;div&gt;constitutional error if it deprived the defendant of any&lt;span&gt;&lt;/span&gt; meaningful &lt;/div&gt;
&lt;div&gt;opportunity to present a complete defense.â  &lt;span&gt;People v. Conyac&lt;span&gt;, &lt;span&gt;&lt;/span&gt;2014 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;COA 8M, Â¶ 93.  Possible confrontation clause violations are &lt;/div&gt;
&lt;div&gt;reviewed de novo, &lt;span&gt;People v. Houser&lt;/span&gt;, 2013 COA 11, Â¶ 57, and &lt;/div&gt;
&lt;div&gt;warrant reversal unless harmless beyond a reasonable doubt, &lt;/div&gt;
&lt;div&gt;People v.&lt;span&gt; &lt;/span&gt;&lt;span&gt;Johnson&lt;/span&gt;&lt;span&gt;, 2021 CO 35, Â¶ 17.&lt;span&gt;  &lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 11&lt;span&gt; &lt;/span&gt;&lt;span&gt;The first claimed error did not deprive Avila of his only means &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;of testing prosecution evidence&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See&lt;/span&gt; &lt;span&gt;Conyac&lt;/span&gt;, Â¶Â¶ 93-&lt;span&gt;94&lt;span&gt;.  I&lt;/span&gt;&lt;/span&gt;ndeed, &lt;/div&gt;
&lt;div&gt;Avila was afforded the opportunity to highlight the absence of his &lt;/div&gt;
&lt;div&gt;own DNA on the victimâs body, &lt;span&gt;impeach the &lt;/span&gt;victimâs credibility,&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;cross-examine prosecution witnesses, present witnesses in his &lt;/div&gt;
&lt;div&gt;defense, and make an opening statement and closing argument. &lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;See People In Interest of D.F.A.E.&lt;span&gt;, 2020 COA 89M, Â¶ 58&lt;span&gt;; &lt;/span&gt;&lt;/span&gt;see also &lt;/div&gt;
&lt;div&gt;Conyac&lt;span&gt;, Â¶ 109 (âColorado courts have repeatedly con&lt;span&gt;&lt;/span&gt;cluded that &lt;span&gt;the &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;rape shield statute does not violate a defendantâs right t&lt;span&gt;&lt;/span&gt;o &lt;/div&gt;
&lt;div&gt;confrontation or cross-&lt;span&gt;examination.â)&lt;/span&gt;&lt;span&gt;.  &lt;/span&gt;Neither did the evidentiary &lt;/div&gt;
&lt;div&gt;claim invoking CRE 403 specifically and directly offend a &lt;/div&gt;
&lt;div&gt;constitutional right.  &lt;span&gt;See Flockhart&lt;/span&gt;, Â¶ 20.  Thus, w&lt;span&gt;e &lt;/span&gt;review these &lt;/div&gt;
&lt;div&gt;issues like any other evidentiary claim of error.   &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;5 &lt;/div&gt;
&lt;div&gt;Â¶ 12&lt;span&gt; &lt;span&gt;We review a trial courtâs evidentiary rulings for an abuse of &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;discretion.  &lt;span&gt;Rojas v. People&lt;/span&gt;, 2022 CO 8, Â¶ 16; &lt;span&gt;see also People v. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Hood&lt;span&gt;, 2024 COA 27, Â¶ 6 &lt;span&gt;(âWe review a trial courtâs . . .&lt;span&gt;&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;determination of evidenceâs admissibility under the rape shield &lt;/div&gt;
&lt;div&gt;statute[] for an abuse of discretion.â) (citation omitted); &lt;span&gt;Johnson&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ &lt;span&gt;16&lt;/span&gt; &lt;span&gt;(â[W]e review a trial courtâs determination of wh&lt;span&gt;&lt;/span&gt;ether a party &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;opened the door to otherwise inadmissible evidence f&lt;span&gt;&lt;/span&gt;or an abuse of &lt;/div&gt;
&lt;div&gt;discretion.â).  &lt;span&gt;A court abuses its discretion when its decision is &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;manifestly arbitrary, unreasonable, or unfair or wher&lt;span&gt;&lt;/span&gt;e it applies an &lt;/div&gt;
&lt;div&gt;incorrect legal standard.  &lt;span&gt;People v. Rodriguez&lt;/span&gt;, 2022 COA 98, &lt;span&gt;&lt;/span&gt;Â¶ &lt;span&gt;12&lt;span&gt;.  &lt;/span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 13&lt;span&gt; &lt;/span&gt;&lt;span&gt;We review preserved evidentiary errors under the harmless &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;error standard of reversal.  &lt;span&gt;See Hagos v. People&lt;/span&gt;, 2012 CO 63, Â¶ 12.  &lt;/div&gt;
&lt;div&gt;B.&lt;span&gt; &lt;span&gt;Rape Shield Statute &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 14&lt;span&gt; &lt;/span&gt;&lt;span&gt;Avila contends that the trial court violated his right to present &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;a complete defense by prohibiting him from cross-examining a DNA &lt;/div&gt;
&lt;div&gt;expert about the presence of another ma&lt;span&gt;le&lt;/span&gt;&lt;span&gt;âs DNA on the victimâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;external genitalia and breasts under the rape shield statute.  He &lt;/div&gt;
&lt;div&gt;further contends that even if the evidence was inadmissibl&lt;span&gt;&lt;/span&gt;e under &lt;/div&gt;
&lt;div&gt;that statute, the prosecution opened the door to its admissi&lt;span&gt;&lt;/span&gt;on.  &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;6 &lt;/div&gt;
&lt;div&gt;1.&lt;span&gt; &lt;span&gt;Additional Background &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 15&lt;span&gt; &lt;/span&gt;&lt;span&gt;Anticipating &lt;span&gt;the prosecutionâs DNA expert witness,&lt;/span&gt; defense &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;counsel informed the court that an unknown male DNA profile, &lt;/div&gt;
&lt;div&gt;from which Avila was excluded, was developed from swab&lt;span&gt;&lt;/span&gt;s of the &lt;/div&gt;
&lt;div&gt;victimâs breasts and external genitalia.  &lt;span&gt;The DNA evidence was not &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;drawn from a specific biological fluid such as semen or sali&lt;span&gt;&lt;/span&gt;va; the &lt;/div&gt;
&lt;div&gt;prosecutor explained it was âlikely touch DNA coming from s&lt;span&gt;&lt;/span&gt;kin &lt;/div&gt;
&lt;div&gt;cells.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;span&gt;Defense counsel wanted to use the information to suggest &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that someone else committed the sexual assault.   &lt;/div&gt;
&lt;div&gt;Â¶ 16&lt;span&gt; &lt;/span&gt;&lt;span&gt;In its ruling, the district court concluded that the DNA was not &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;evidence of a specific instance of sexual conduct under the rape &lt;/div&gt;
&lt;div&gt;shield statute because there was no proof as to how the &lt;span&gt;&lt;/span&gt;DNA got &lt;/div&gt;
&lt;div&gt;there, how long it had been there, or who it came from.&lt;span&gt;&lt;/span&gt;  But the &lt;/div&gt;
&lt;div&gt;court, somewhat perplexingly, further concluded that the evidence &lt;/div&gt;
&lt;div&gt;fell within the purpose of the rape shield statute and t&lt;span&gt;&lt;/span&gt;hat no &lt;/div&gt;
&lt;div&gt;exception applied to allow its admission.   &lt;/div&gt;
&lt;div&gt;Â¶ 17&lt;span&gt; &lt;/span&gt;&lt;span&gt;Regarding opening the door, the court ruled that there was n&lt;span&gt;&lt;/span&gt;o &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;viable evidence of an alternate suspect, so the prosecution &lt;span&gt;&lt;/span&gt;did not &lt;/div&gt;
&lt;div&gt;open the door to the &lt;span&gt;DNAâs admission.  &lt;/span&gt;Importantly, the court &lt;/div&gt;
&lt;div&gt;limited its evidentiary ruling to the unknown DNA profile; &lt;span&gt;&lt;/span&gt;Avila was &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div id="pf8" data-page-no="8"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;7 &lt;/div&gt;
&lt;div&gt;allowed to, and did, introduce testimony that his ow&lt;span&gt;&lt;/span&gt;n DNA was not &lt;/div&gt;
&lt;div&gt;found on the victimâs body.  &lt;span&gt;    &lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2.&lt;span&gt; &lt;span&gt;Applicable Law and Analysis &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 18&lt;span&gt; &lt;/span&gt;&lt;span&gt;Under the rape shield statute&lt;span&gt;, &lt;/span&gt;evidence of specific instances of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;a victimâs prior or subsequent sexual conduct&lt;span&gt; is presumptively &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;irrelevant.  Â§ 18-3-407(1), C.R.S. 2024.  &lt;span&gt;We interpret âsexual &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;conduct,â as used in the statute, broadly.  &lt;span&gt;People v. Williamson&lt;span&gt;, 249 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;P.3d 801, 803 (Colo. 2011).  But evidence does not fall &lt;span&gt;&lt;/span&gt;within the &lt;/div&gt;
&lt;div&gt;rape shield statuteâs purview âsimply because it might &lt;span&gt;&lt;/span&gt;indirectly &lt;/div&gt;
&lt;div&gt;cause the finder of fact to make an inference concerning t&lt;span&gt;&lt;/span&gt;he victimâs &lt;/div&gt;
&lt;div&gt;prior sexual conduct.â  &lt;span&gt;People v. Cobb&lt;span&gt;, 962 P.2d 944, 951 (Colo. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;1998). &lt;/div&gt;
&lt;div&gt;Â¶ 19&lt;span&gt; &lt;/span&gt;&lt;span&gt;The presumption of irrelevance does not apply to &lt;span&gt;â&lt;/span&gt;evidence of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;specific instances of sexual activity showing the source or origin &lt;span&gt;&lt;/span&gt;of &lt;/div&gt;
&lt;div&gt;semen, pregnancy, disease, or any similar evidence of sexual &lt;/div&gt;
&lt;div&gt;intercourse&lt;span&gt;â&lt;/span&gt;&lt;span&gt; offered to show that &lt;span&gt;â&lt;/span&gt;the act or acts charged &lt;span&gt;&lt;/span&gt;were or &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf9" data-page-no="9"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMX/n%2Be/MMXn%2BekQ817y/lXyeovZwcgeMWibwHo7dUSO3Lu0a7r74%3D?AWSAccessKeyId=ASIA5PHC3MTP5VENMSL6&amp;amp;Expires=1728907419&amp;amp;Signature=JjMoGPIcd%2BcLD9aMEfsGl9vKryY%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHsaCXVzLWVhc3QtMSJGMEQCIEwUPFOxCsREp%2FdppTB9AVB%2FGa91vIgEpIMlf%2BnLQFPhAiBY6H9ENa3ooQe%2FXbw%2B00OBn%2Bjxsq%2FKP%2BvkzEA8qiLuVCq7BQjT%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F8BEAAaDDkyNjA0MTIwMzkzNSIMSuRS%2FcN7MVC8UuY3Ko8Fz2Sqds4TBI0VylG6c8vfcjo1B6Q4J2u7lkb12ZOMH%2B3JGq9gSw%2BAEo2Nv9ocy9D%2F22nIGNRhICOLLbkZXs3rItrWxt%2FmEnERnKDKpMUBbQxmZc%2FO0p%2FolpoXF5mZbX%2F%2F%2FHiuXiBU%2FpGwPNU6VvFF0pv6j2qPwfWulPduWtr614Ql64v5O9ji7m1l4EL0iSbaaXQjDrX5Ap6dO5FSopxM9aQCTw1XdpFLBMY%2BAg5fU0zuZjdloOSe9ktICtJgnsBXxsfttC7imE0BDXfLxvTJ30tkcZg6RA0bNU2NgDtY%2BnCKzRIJQkqToVJtrA73rCjERIs8bR9Zf8P73D6Uj3yF0d%2FfAV7pGNIn8RjgJg95NjA7qZb8%2B%2FH5oPgJz3cAe8l6vuX3GaB0Pq44C6uWP9jOIUavbl5dz5ZANusM9hg6ymUUlQhu4eAXUJzPNJM1F%2B5nkXdQe%2BmBK8NzBlRnKgdg7SQgSrn0kC27y7ELATpYhGxgaRDX1YTqvHtKr67Ufe%2F5WyW0jUCY5SS4FulyTsh6SLwvtxNYC5RMtmAvZFLPXvHNqDyuSRJaBK6TO%2FCylEVeAcmtemiJzTFY8BjEeUz5WQYfXmfDaCCuy1BeOMlh8c2nuDPwnLDw5p13bJgwgAumDgR8bDyOYY8uoC6rcAF2K7KVppoKFhC1zWOATM4x5L19xrF4481Kns7O5G6cfd%2Fcycq%2B%2FwbIIoUE2fiXPzqhvFjrhv7YQ9%2BQBnhkjyt7FSzTjhbAnj08jnadktyyFau6LR9iz9mSfK1%2BVMupNtbcdV%2FWRotDDRuaa%2FGrmecU1DeSp7MRgKKGODO5zco31CBbOikyo53V%2FjmD6sNldQOqjdKJhXtb%2BJNwu0sJ88L4zTDK3LO4BjqyAd4bjK6M6OpsiKW5bxJlTXEiWulrCYiKETUmp1P%2FpdSpQIuaZLxVWFAFLtsS4%2FAPdvlL5V8E9%2BTeXKVB7GQrzun72OfLCEAG9XkymQScsFepHPbolWsGCCAO4ON7zoxiEXbT4A3IcV7AnQ8%2F4nVlJ%2FU99BwvVyu9hu9mr7B4j8jF6p3nR5j3mY%2FrlzjEilI6HZ0TaeTNExBKTv893ZMI131xKgssCJNksl%2BBz%2F1AftUnjz0%3D"&gt;&lt;div&gt;
&lt;div&gt;8 &lt;/div&gt;
&lt;div&gt;were not committed by the defendant&lt;span&gt;.â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;Â§ 18-3-407(1).&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt;Evidence &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;offered under an exception to the rape shield statute must still &lt;/div&gt;
&lt;div&gt;comply with the standard evidentiary rules.  &lt;span&gt;Hood&lt;/span&gt;&lt;span&gt;, Â¶&lt;/span&gt; 18. &lt;span&gt;    &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 20&lt;span&gt; &lt;/span&gt;&lt;span&gt;In &lt;span&gt;Hood&lt;/span&gt;, Â¶Â¶ 13, 15, a division of this court recently held that &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;âthe mere presence of someone elseâs DNA on a personâs ext&lt;span&gt;&lt;/span&gt;ernal &lt;/div&gt;
&lt;div&gt;genitalia, standing alone,â does not amount to evidence of &lt;span&gt;&lt;/span&gt;a specific &lt;/div&gt;
&lt;div&gt;instance of prior or subsequent sexual conduct within &lt;span&gt;&lt;/span&gt;the meaning &lt;/div&gt;
&lt;div&gt;of the rape shield statute.  In that case, the DNA evidence w&lt;span&gt;&lt;/span&gt;as not &lt;/div&gt;
&lt;div&gt;offered to prove an alternate suspect theory or that the &lt;span&gt;&lt;/span&gt;victim &lt;/div&gt;
&lt;div&gt;engaged in sexual conduct.  &lt;span&gt;Id.&lt;/span&gt; at Â¶ 13.  Instead, it was offered to &lt;/div&gt;
&lt;div&gt;show that DNA evidence remained &lt;span&gt;on the victimâs&lt;/span&gt; body after she &lt;/div&gt;
&lt;div&gt;showered, undercutting &lt;span&gt;the prosecutionâs theory that the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;defendantâs DNA must have been washed away.  &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt; at Â¶ 14.  The &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;division in &lt;span&gt;Hood&lt;/span&gt; rejected a broad holding that only DNA d&lt;span&gt;&lt;/span&gt;rawn from &lt;/div&gt;
&lt;div&gt;sexual biological fluids can implicate the rape shield statute, &lt;span&gt;&lt;/span&gt;leaving &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; &lt;span&gt;Th&lt;/span&gt;is statutory subsection used to appear at section &lt;span&gt;&lt;/span&gt;18-3-&lt;/div&gt;
&lt;div&gt;407(1)(b), C.R.S. 2023.  In 2024, the General Assembly passed &lt;span&gt;&lt;/span&gt;H.B. &lt;/div&gt;
&lt;div&gt;24&lt;span&gt;-1072, &lt;span&gt;â&lt;/span&gt;Protection of Victims of Sexual Offenses,&lt;span&gt;â&lt;/span&gt; wherein the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;subsection was moved to section 18-3-407(1), C.R.S. 2024.  &lt;span&gt;See&lt;/span&gt; Ch. &lt;/div&gt;
&lt;div&gt;123, sec. 2, Â§ &lt;span&gt;18&lt;/span&gt;-3-407, 2024 Colo. Sess. Laws 408.  Because H.B. &lt;/div&gt;
&lt;div&gt;24&lt;span&gt;-1072 did not substantive&lt;span&gt;ly&lt;/span&gt; change the portions of the statute &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;relevant here, we elect to cite the current version. &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pf9" data-dest-detail='[9,"XYZ",69,187,null]'&gt;&lt;div style="border-style:none;position:absolute;left:562.797222px;bottom:877.999444px;width:10.080000px;height:32.870000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfa" data-page-no="a"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;9 &lt;/div&gt;
&lt;div&gt;room for cases where unspecified DNA evidence could im&lt;span&gt;&lt;/span&gt;plicate the &lt;/div&gt;
&lt;div&gt;rape shield statute on different facts.  &lt;span&gt;See id.&lt;/span&gt; at Â¶ 15.&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 21&lt;span&gt; &lt;span&gt;â[A] trial court may exclude evidence of an alternate suspect &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that âhas only the most minimal probative value, and which &lt;/div&gt;
&lt;div&gt;requires a jury to engage in undue speculation as to the pr&lt;span&gt;&lt;/span&gt;obative &lt;/div&gt;
&lt;div&gt;value of that evidence.ââ  &lt;span&gt;People v. Cook&lt;span&gt;, 2014 COA 33, Â¶ 39 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(quoting &lt;span&gt;People v. Salazar&lt;/span&gt;, 2012 CO 20, Â¶ 17). &lt;/div&gt;
&lt;div&gt;Â¶ 22&lt;span&gt; &lt;/span&gt;&lt;span&gt;But even assuming the DNA evidence fell under one of the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;exceptions of the rape shield statute, or that the statute was &lt;/div&gt;
&lt;div&gt;completely inapplicable, the evidence was nonetheless inadmissi&lt;span&gt;&lt;/span&gt;ble &lt;/div&gt;
&lt;div&gt;because it was irrelevant&lt;span&gt;, &lt;/span&gt;CRE 401, and prejudicial, CRE 403&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;People v. Aarness&lt;span&gt;, 150 P.3d 1271, 1277 (Colo. 2006) (we may &lt;span&gt;&lt;/span&gt;affirm &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;on any ground supported by the record)&lt;span&gt;; &lt;/span&gt;&lt;span&gt;Hood&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;Â¶ 18 (DNA evidence &lt;/div&gt;
&lt;div&gt;must still be admissible under standard evidentiary rules).&lt;span&gt;  &lt;/span&gt;Thus, &lt;/div&gt;
&lt;div&gt;we affirm the trial courtâs evidentiary ruling, albeit on &lt;span&gt;&lt;/span&gt;d&lt;span&gt;ifferent &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;grounds. &lt;/div&gt;
&lt;div&gt;Â¶ 23&lt;span&gt; &lt;/span&gt;&lt;span&gt;First, the DNA evidence had minimal probative value.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Testimony established that touch DNA is developed from skin &lt;span&gt;&lt;/span&gt;cells &lt;/div&gt;
&lt;div&gt;that people shed, and it can often be found in places where people &lt;/div&gt;
&lt;div&gt;spend a lot of time, such as in their own home.  Touch DNA can &lt;span&gt;&lt;/span&gt;be &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfb" data-page-no="b"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;10 &lt;/div&gt;
&lt;div&gt;transferred from object to object and from person to person, &lt;span&gt;&lt;/span&gt;making &lt;/div&gt;
&lt;div&gt;it difficult to determine its origin&lt;span&gt;.  &lt;/span&gt;The prosecutor represented to t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;court, via offer of proof, that the DNA expert would testify t&lt;span&gt;&lt;/span&gt;hat &lt;/div&gt;
&lt;div&gt;ât&lt;span&gt;ouch DNA of the sort identified in her report could . . . be around &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;indefinitely&lt;span&gt;â&lt;/span&gt;&lt;span&gt; depending &lt;span&gt;on&lt;/span&gt; numerous factors.&lt;span&gt;  &lt;/span&gt;Defense counsel &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;admitted that there was no way to prove how long the DN&lt;span&gt;&lt;/span&gt;A had &lt;/div&gt;
&lt;div&gt;been present&lt;span&gt;.  &lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 24&lt;span&gt; &lt;/span&gt;&lt;span&gt;Given the innumerable ways that the DNA could have ended &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;up on the victimâs body&lt;span&gt; &lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt; whether from her clothes&lt;span&gt;, &lt;/span&gt;hands, or &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;otherwise &lt;span&gt;â&lt;/span&gt; &lt;span&gt;the presence of male DNA on the victimâs external &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;genitalia and breasts had minimal probative value&lt;span&gt;, &lt;/span&gt;especially where &lt;/div&gt;
&lt;div&gt;evidence showed that the victim lived with her son and slept &lt;span&gt;&lt;/span&gt;in his &lt;/div&gt;
&lt;div&gt;bed before the attack&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See People v. Young&lt;/span&gt;, 2014 COA 169, Â¶ 73 &lt;/div&gt;
&lt;div&gt;(recognizing the low probative value of touch DNA)&lt;span&gt;; &lt;/span&gt;&lt;span&gt;see also People &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;v. Harris&lt;span&gt;, 43 P.3d 221, 226 (Colo. 2002) (rejecting ad&lt;span&gt;&lt;/span&gt;missibility of a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;prior sexual encounter offered to explain that someone &lt;span&gt;&lt;/span&gt;else caused &lt;/div&gt;
&lt;div&gt;the victimâs vaginal abrasion)&lt;span&gt;. &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 25&lt;span&gt; &lt;/span&gt;&lt;span&gt;This evidence was not probative in the same manner as &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;analyzed in &lt;span&gt;Hood&lt;/span&gt;.  That case involved a different theory of &lt;/div&gt;
&lt;div&gt;relevance; rather than being offered to prove that an unkn&lt;span&gt;&lt;/span&gt;own, &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfc" data-page-no="c"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;11 &lt;/div&gt;
&lt;div&gt;alternate suspect committed the assault, the DNA was offered to &lt;/div&gt;
&lt;div&gt;rebut the prosecutionâs theory that the defendantâs DNA was n&lt;span&gt;&lt;/span&gt;ot &lt;/div&gt;
&lt;div&gt;found on that victim because she showered after the assault.&lt;span&gt;&lt;/span&gt;  &lt;span&gt;Hood&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 14.  &lt;span&gt;Another personâs DNA on the victimâs body, which surviv&lt;span&gt;&lt;/span&gt;ed &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;showering, directly rebutted that theory.  &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;Here, the evidence &lt;/div&gt;
&lt;div&gt;was offered to prove sexual conduct, and because touch D&lt;span&gt;&lt;/span&gt;NA is not &lt;/div&gt;
&lt;div&gt;terribly probative of a sexual act, the evidence here was far less &lt;/div&gt;
&lt;div&gt;useful than in &lt;span&gt;Hood&lt;/span&gt;&lt;span&gt;. &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 26&lt;span&gt; &lt;/span&gt;&lt;span&gt;The most probative aspect of the DNA &lt;span&gt;expertâs report was that&lt;span&gt;&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;none of &lt;span&gt;Avilaâs DNA&lt;/span&gt; &lt;span&gt;was found on the victimâs external genitalia and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;breasts.  This evidence most directly rebutted the prose&lt;span&gt;&lt;/span&gt;cutionâs &lt;/div&gt;
&lt;div&gt;theory that Avila sexually assaulted the victim, and Avila had the &lt;/div&gt;
&lt;div&gt;opportunity to thoroughly cross-examine the expert on that f&lt;span&gt;&lt;/span&gt;act.   &lt;/div&gt;
&lt;div&gt;Â¶ 27&lt;span&gt; &lt;/span&gt;&lt;span&gt;Second, the prejudice that could have resulted from the touch &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;DNAâs&lt;span&gt; admission was substantial.&lt;span&gt;  &lt;/span&gt;&lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt;The purpose of Colorado&lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s rape &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;shield statute is &lt;span&gt;â&lt;/span&gt;to protect sexual assault victims from humiliating&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;public fishing expeditions into their past sexual conduct.&lt;span&gt;â&lt;span&gt;â &lt;/span&gt;&lt;/span&gt;&lt;span&gt; &lt;/span&gt;&lt;span&gt;I&lt;span&gt;&lt;/span&gt;d.&lt;span&gt; &lt;span&gt;at&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 12 (quoting &lt;span&gt;Cook&lt;/span&gt;, Â¶ 36); &lt;span&gt;see also People v. Melillo&lt;/span&gt;, 25 P.3&lt;span&gt;&lt;/span&gt;d 769, &lt;/div&gt;
&lt;div&gt;777 (Colo. 2001) &lt;span&gt;(â[I]n weighing the relevance of such evidence &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfd" data-page-no="d"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;12 &lt;/div&gt;
&lt;div&gt;against its potentially prejudicial effect, a trial court may consider &lt;/div&gt;
&lt;div&gt;the policy concerns underlying the rape shield statute.â).  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 28&lt;span&gt; &lt;/span&gt;&lt;span&gt;In &lt;span&gt;Hood&lt;/span&gt;, Â¶ 22, the division reasoned that the DNA evidence &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;was not highly prejudicial because there were nonsexual &lt;/div&gt;
&lt;div&gt;explanations for how the DNA could have been transferred t&lt;span&gt;&lt;/span&gt;o the &lt;/div&gt;
&lt;div&gt;victim.  Here, however, the evidence was offered to prove the sexual &lt;/div&gt;
&lt;div&gt;inference.  Thus, it was designed to probe the victimâs sexual &lt;/div&gt;
&lt;div&gt;history, a purpose that our case law largely discourages precisely &lt;/div&gt;
&lt;div&gt;because of its irrelevance, regardless of the rote applicability of the &lt;/div&gt;
&lt;div&gt;rape shield statute.  &lt;span&gt;See Williamson&lt;/span&gt;, 249 P.3d at 802. &lt;/div&gt;
&lt;div&gt;Â¶ 29&lt;span&gt; &lt;/span&gt;&lt;span&gt;For these reasons, the trial court correctly excluded the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;evidence of another &lt;span&gt;maleâs&lt;/span&gt; &lt;span&gt;DNA on the victimâs external genitalia &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and breasts.  We perceive no violation of the victimâs substant&lt;span&gt;&lt;/span&gt;ial &lt;/div&gt;
&lt;div&gt;rights on these facts.  &lt;span&gt;See Harris&lt;/span&gt;, 43 P.3d at 227 (rejecting &lt;span&gt;&lt;/span&gt;Fifth and &lt;/div&gt;
&lt;div&gt;Sixth Amendment challenges in the rape shield context when &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;proffered evidence was irrelevant because those rights ârequi&lt;span&gt;&lt;/span&gt;re only &lt;/div&gt;
&lt;div&gt;that the accused be permitted to introduce all relevant&lt;span&gt;&lt;/span&gt; and &lt;/div&gt;
&lt;div&gt;admissible evidenceâ); &lt;span&gt;People v. Villa&lt;span&gt;, 240 P.3d 343, 355 (Colo. &lt;span&gt;&lt;/span&gt;App. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2009) (same). &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfe" data-page-no="e"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;13 &lt;/div&gt;
&lt;div&gt;3.&lt;span&gt; &lt;span&gt;Opening the Door &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 30&lt;span&gt; &lt;/span&gt;&lt;span&gt;Avila argues that even if the evidence was inadmissible, the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;prosecution opened the door to its admission in two ways.&lt;span&gt;  &lt;/span&gt;First, &lt;/div&gt;
&lt;div&gt;the prosecution opened the door by eliciting the victimâs testim&lt;span&gt;&lt;/span&gt;ony &lt;/div&gt;
&lt;div&gt;that nobody else was in her home on the night in question (to t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;best of her knowledge).  Second, the prosecution opened the doo&lt;span&gt;&lt;/span&gt;r by &lt;/div&gt;
&lt;div&gt;eliciting testimony that other male DNA was found on the f&lt;span&gt;&lt;/span&gt;rying pan &lt;/div&gt;
&lt;div&gt;handle.   &lt;/div&gt;
&lt;div&gt;Â¶ 31&lt;span&gt; &lt;span&gt;â[A]lthough the Rape Shield Statute bars evidence of a rape &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;victimâs . . . past sexual conduct, the defense may still int&lt;span&gt;&lt;/span&gt;roduce &lt;/div&gt;
&lt;div&gt;such evidence if the prosecution makes the evidence relevant &lt;span&gt;&lt;/span&gt;by &lt;/div&gt;
&lt;div&gt;âopening the doorâ to the evidence.â  &lt;span&gt;People v. Murphy&lt;span&gt;, 919 P.2d 191,&lt;span&gt;&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;195 (Colo. 1996).  The âopening the doorâ concept represent&lt;span&gt;&lt;/span&gt;s an &lt;/div&gt;
&lt;div&gt;effort by courts to prevent one party from âgaining and maintainin&lt;span&gt;&lt;/span&gt;g &lt;/div&gt;
&lt;div&gt;an unfair advantageâ at trial through âselective presentation of f&lt;span&gt;&lt;/span&gt;acts &lt;/div&gt;
&lt;div&gt;that, without being elaborated or placed in context, create an &lt;/div&gt;
&lt;div&gt;incorrect or misleading impression.â  &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt;  &lt;span&gt;But application of the &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;opening the door concept is nevertheless subject to conside&lt;span&gt;&lt;/span&gt;rations &lt;/div&gt;
&lt;div&gt;of relevance, CRE 401, and prejudice&lt;span&gt;, &lt;/span&gt;CRE 403.  &lt;span&gt;See also&lt;/span&gt; &lt;span&gt;Ha&lt;span&gt;&lt;/span&gt;rris&lt;span&gt;, 43 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;P.3d at 227; &lt;span&gt;Melillo&lt;/span&gt;, 25 P.3d at 775.       &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pff" data-page-no="f"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;14 &lt;/div&gt;
&lt;div&gt;Â¶ 32&lt;span&gt; &lt;/span&gt;&lt;span&gt;Neither piece of testimony opened the door to evidence of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;another male&lt;span&gt;âs&lt;/span&gt; &lt;span&gt;DNA on the victimâs external genitalia&lt;/span&gt; and breasts&lt;span&gt;.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;The first statement, that nobody else was in the victimâs home to &lt;/div&gt;
&lt;div&gt;the best of her knowledge, did not create an incomplete or &lt;/div&gt;
&lt;div&gt;misleading impression requiring admission of the DNA evidence.  &lt;/div&gt;
&lt;div&gt;The defenseâs theory seems to be that the victim was not &lt;span&gt;&lt;/span&gt;allowed to &lt;/div&gt;
&lt;div&gt;testify to the absence of others in her home without opening t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;door to the fact that another manâs DNA was found on her bec&lt;span&gt;&lt;/span&gt;ause&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the DNA was probative of an alternate suspect in the home at t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;time of the assault.  The foregoing analysis explains why &lt;span&gt;&lt;/span&gt;that theory &lt;/div&gt;
&lt;div&gt;fails.   &lt;/div&gt;
&lt;div&gt;Â¶ 33&lt;span&gt; &lt;/span&gt;&lt;span&gt;Similarly, the presence of another male&lt;span&gt;âs&lt;/span&gt; DNA profile on the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;weapon did not leave an incorrect or misleading impressi&lt;span&gt;&lt;/span&gt;on &lt;/div&gt;
&lt;div&gt;requiring admission of the DNA on the victimâs body.  There wa&lt;span&gt;&lt;/span&gt;s no &lt;/div&gt;
&lt;div&gt;evidence that the male DNA present on the frying pan matched t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;DNA on the victimâs body.  Nor &lt;span&gt;was any concrete evidence present&lt;span&gt;&lt;/span&gt;ed &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that support&lt;span&gt;ed&lt;/span&gt; an alternate suspect theory.&lt;span&gt;  &lt;/span&gt;To the contrary, the &lt;/div&gt;
&lt;div&gt;evidence showed that touch DNA can come from innumerable &lt;/div&gt;
&lt;div&gt;sources and that the victimâs son&lt;span&gt; &lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt; a male depositing touch DNA &lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf10" data-page-no="10"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;15 &lt;/div&gt;
&lt;div&gt;lived in the home.  For these reasons, the court acted within&lt;span&gt;&lt;/span&gt; its &lt;/div&gt;
&lt;div&gt;discretion in rejecting the defenseâs opening the door theory. &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;C.&lt;span&gt; &lt;span&gt;Injury Photographs &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 34&lt;span&gt; &lt;/span&gt;&lt;span&gt;Avila next contends that the trial court abused its discretion in &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;admitting numerous &lt;span&gt;photographs of the victimâs injuries that&lt;span&gt;&lt;/span&gt; were &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;needlessly cumulative.  We disagree.   &lt;/div&gt;
&lt;div&gt;1.&lt;span&gt; &lt;span&gt;Additional Background &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 35&lt;span&gt; &lt;/span&gt;&lt;span&gt;At the emergency room, the treating physician concluded that &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the victim sustained a serious bodily injury.  Based on the &lt;span&gt;victimâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;representations about the assault, the treating physician refe&lt;span&gt;&lt;/span&gt;rred &lt;/div&gt;
&lt;div&gt;her to a forensic nurse examiner for a sexual assault &lt;span&gt;&lt;/span&gt;examination.  &lt;/div&gt;
&lt;div&gt;A forensic nurse later testified about the &lt;span&gt;victimâs&lt;/span&gt; injuries.  &lt;/div&gt;
&lt;div&gt;Â¶ 36&lt;span&gt; &lt;/span&gt;&lt;span&gt;During a bench conference, the prosecutor expressed her &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;intention to introduce seventy-nine &lt;span&gt;photographs of the victimâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;injuries.  Defense counsel objected under CRE 403, arg&lt;span&gt;&lt;/span&gt;uing that &lt;/div&gt;
&lt;div&gt;the photographs were cumulative and prejudicial&lt;span&gt;.  &lt;/span&gt;The court invited &lt;/div&gt;
&lt;div&gt;defense counsel to review each exhibit and object to the ones that&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;were cumulative.   &lt;/div&gt;
&lt;div&gt;Â¶ 37&lt;span&gt; &lt;/span&gt;&lt;span&gt;Defense counsel did not object to every exhibit the prosecution &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;offered.  Instead, he raised groups of exhibits containin&lt;span&gt;&lt;/span&gt;g what he &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf11" data-page-no="11"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM//fwh/MM/fwhrHzVapSWdVPegin3mDQJvSayoCEB%2BptG8S0Pg4k%3D?AWSAccessKeyId=ASIA5PHC3MTP5VENMSL6&amp;amp;Expires=1728907419&amp;amp;Signature=jGXEHCtTXdsqwHaZkG6KZCvasLc%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHsaCXVzLWVhc3QtMSJGMEQCIEwUPFOxCsREp%2FdppTB9AVB%2FGa91vIgEpIMlf%2BnLQFPhAiBY6H9ENa3ooQe%2FXbw%2B00OBn%2Bjxsq%2FKP%2BvkzEA8qiLuVCq7BQjT%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F8BEAAaDDkyNjA0MTIwMzkzNSIMSuRS%2FcN7MVC8UuY3Ko8Fz2Sqds4TBI0VylG6c8vfcjo1B6Q4J2u7lkb12ZOMH%2B3JGq9gSw%2BAEo2Nv9ocy9D%2F22nIGNRhICOLLbkZXs3rItrWxt%2FmEnERnKDKpMUBbQxmZc%2FO0p%2FolpoXF5mZbX%2F%2F%2FHiuXiBU%2FpGwPNU6VvFF0pv6j2qPwfWulPduWtr614Ql64v5O9ji7m1l4EL0iSbaaXQjDrX5Ap6dO5FSopxM9aQCTw1XdpFLBMY%2BAg5fU0zuZjdloOSe9ktICtJgnsBXxsfttC7imE0BDXfLxvTJ30tkcZg6RA0bNU2NgDtY%2BnCKzRIJQkqToVJtrA73rCjERIs8bR9Zf8P73D6Uj3yF0d%2FfAV7pGNIn8RjgJg95NjA7qZb8%2B%2FH5oPgJz3cAe8l6vuX3GaB0Pq44C6uWP9jOIUavbl5dz5ZANusM9hg6ymUUlQhu4eAXUJzPNJM1F%2B5nkXdQe%2BmBK8NzBlRnKgdg7SQgSrn0kC27y7ELATpYhGxgaRDX1YTqvHtKr67Ufe%2F5WyW0jUCY5SS4FulyTsh6SLwvtxNYC5RMtmAvZFLPXvHNqDyuSRJaBK6TO%2FCylEVeAcmtemiJzTFY8BjEeUz5WQYfXmfDaCCuy1BeOMlh8c2nuDPwnLDw5p13bJgwgAumDgR8bDyOYY8uoC6rcAF2K7KVppoKFhC1zWOATM4x5L19xrF4481Kns7O5G6cfd%2Fcycq%2B%2FwbIIoUE2fiXPzqhvFjrhv7YQ9%2BQBnhkjyt7FSzTjhbAnj08jnadktyyFau6LR9iz9mSfK1%2BVMupNtbcdV%2FWRotDDRuaa%2FGrmecU1DeSp7MRgKKGODO5zco31CBbOikyo53V%2FjmD6sNldQOqjdKJhXtb%2BJNwu0sJ88L4zTDK3LO4BjqyAd4bjK6M6OpsiKW5bxJlTXEiWulrCYiKETUmp1P%2FpdSpQIuaZLxVWFAFLtsS4%2FAPdvlL5V8E9%2BTeXKVB7GQrzun72OfLCEAG9XkymQScsFepHPbolWsGCCAO4ON7zoxiEXbT4A3IcV7AnQ8%2F4nVlJ%2FU99BwvVyu9hu9mr7B4j8jF6p3nR5j3mY%2FrlzjEilI6HZ0TaeTNExBKTv893ZMI131xKgssCJNksl%2BBz%2F1AftUnjz0%3D"&gt;&lt;div&gt;
&lt;div&gt;16 &lt;/div&gt;
&lt;div&gt;believed were duplicates, arguing that approximately forty of the &lt;/div&gt;
&lt;div&gt;seventy-nine total exhibits were inadmissible&lt;span&gt;.  &lt;/span&gt;Defense counsel &lt;/div&gt;
&lt;div&gt;surveyed the exhibits injury by injury &lt;span&gt;â&lt;/span&gt; generally stipulating t&lt;span&gt;&lt;/span&gt;o the &lt;/div&gt;
&lt;div&gt;prosecutionâs admission of one photograph per injury. &lt;span&gt;&lt;/span&gt; &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 38&lt;span&gt; &lt;/span&gt;&lt;span&gt;The court then surveyed each group that defense counsel &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;challenged, and &lt;span&gt;it&lt;/span&gt; excluded some cumulative photographs. &lt;span&gt;&lt;/span&gt; It &lt;/div&gt;
&lt;div&gt;excluded nine of the forty objected-&lt;span&gt;to&lt;/span&gt; exhibits, admitting a total of &lt;/div&gt;
&lt;div&gt;seventy exhibits of the seventy-nine offered.  The below chart &lt;/div&gt;
&lt;div&gt;documents the groups defense counsel challenged&lt;span&gt;, and the courtâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;admission or exclusion of exhibits within those cate&lt;span&gt;&lt;/span&gt;gories.  &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;Injury &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;Exhibit #âs&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;Total &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;Admitted &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;Excluded &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;Forehead cut  &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;14&lt;span&gt;-&lt;span&gt;18&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;5 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;Black eye, right &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;19&lt;span&gt;-23, 25-&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;26&lt;span&gt;, 32, 40-&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;41&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;10&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;8 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;Hairline cut  &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;27&lt;span&gt;-&lt;span&gt;29&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;Neck, front &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;34&lt;span&gt;-&lt;span&gt;35&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;0 &lt;/div&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf12" data-page-no="12"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMa/8I9/MMa8I9rvezVKTbR/DJF5tbGjWtix8glGfVtlP9PptcOlI%3D?AWSAccessKeyId=ASIA5PHC3MTP5VENMSL6&amp;amp;Expires=1728907419&amp;amp;Signature=DPVATl%2BYaGUiRBvKSwdAi1LjiTA%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHsaCXVzLWVhc3QtMSJGMEQCIEwUPFOxCsREp%2FdppTB9AVB%2FGa91vIgEpIMlf%2BnLQFPhAiBY6H9ENa3ooQe%2FXbw%2B00OBn%2Bjxsq%2FKP%2BvkzEA8qiLuVCq7BQjT%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F8BEAAaDDkyNjA0MTIwMzkzNSIMSuRS%2FcN7MVC8UuY3Ko8Fz2Sqds4TBI0VylG6c8vfcjo1B6Q4J2u7lkb12ZOMH%2B3JGq9gSw%2BAEo2Nv9ocy9D%2F22nIGNRhICOLLbkZXs3rItrWxt%2FmEnERnKDKpMUBbQxmZc%2FO0p%2FolpoXF5mZbX%2F%2F%2FHiuXiBU%2FpGwPNU6VvFF0pv6j2qPwfWulPduWtr614Ql64v5O9ji7m1l4EL0iSbaaXQjDrX5Ap6dO5FSopxM9aQCTw1XdpFLBMY%2BAg5fU0zuZjdloOSe9ktICtJgnsBXxsfttC7imE0BDXfLxvTJ30tkcZg6RA0bNU2NgDtY%2BnCKzRIJQkqToVJtrA73rCjERIs8bR9Zf8P73D6Uj3yF0d%2FfAV7pGNIn8RjgJg95NjA7qZb8%2B%2FH5oPgJz3cAe8l6vuX3GaB0Pq44C6uWP9jOIUavbl5dz5ZANusM9hg6ymUUlQhu4eAXUJzPNJM1F%2B5nkXdQe%2BmBK8NzBlRnKgdg7SQgSrn0kC27y7ELATpYhGxgaRDX1YTqvHtKr67Ufe%2F5WyW0jUCY5SS4FulyTsh6SLwvtxNYC5RMtmAvZFLPXvHNqDyuSRJaBK6TO%2FCylEVeAcmtemiJzTFY8BjEeUz5WQYfXmfDaCCuy1BeOMlh8c2nuDPwnLDw5p13bJgwgAumDgR8bDyOYY8uoC6rcAF2K7KVppoKFhC1zWOATM4x5L19xrF4481Kns7O5G6cfd%2Fcycq%2B%2FwbIIoUE2fiXPzqhvFjrhv7YQ9%2BQBnhkjyt7FSzTjhbAnj08jnadktyyFau6LR9iz9mSfK1%2BVMupNtbcdV%2FWRotDDRuaa%2FGrmecU1DeSp7MRgKKGODO5zco31CBbOikyo53V%2FjmD6sNldQOqjdKJhXtb%2BJNwu0sJ88L4zTDK3LO4BjqyAd4bjK6M6OpsiKW5bxJlTXEiWulrCYiKETUmp1P%2FpdSpQIuaZLxVWFAFLtsS4%2FAPdvlL5V8E9%2BTeXKVB7GQrzun72OfLCEAG9XkymQScsFepHPbolWsGCCAO4ON7zoxiEXbT4A3IcV7AnQ8%2F4nVlJ%2FU99BwvVyu9hu9mr7B4j8jF6p3nR5j3mY%2FrlzjEilI6HZ0TaeTNExBKTv893ZMI131xKgssCJNksl%2BBz%2F1AftUnjz0%3D"&gt;&lt;div&gt;&lt;div&gt;17 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt; &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;Neck, side &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;36&lt;span&gt;-&lt;span&gt;38&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;0 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;Shoulder bruises  &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;42&lt;span&gt;-&lt;span&gt;46&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;5 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;4 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;Left arm  &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;47&lt;span&gt;-&lt;span&gt;49&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;0 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;Wrist bruises, left &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;50&lt;span&gt;-&lt;span&gt;53&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;4 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;4 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;0 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;Hand bruises, left  &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;56&lt;span&gt;-&lt;span&gt;57&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;0 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;Back abrasions   &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;58&lt;span&gt;-&lt;span&gt;60&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;0 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;Bicep bruise, right  &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;63&lt;span&gt;-&lt;span&gt;65&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;0 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;Forearm bruise, right  &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;67&lt;span&gt;-&lt;span&gt;72&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;6 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;5 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;Wrist bruise, right  &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;75&lt;span&gt;-&lt;span&gt;77&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;0 &lt;/div&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf13" data-page-no="13"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMw/sYb/MMwsYbZZR/rZ4JlMIbGfoZsGG4YChBaqhneymZCIkpqvE%3D?AWSAccessKeyId=ASIA5PHC3MTP5VENMSL6&amp;amp;Expires=1728907419&amp;amp;Signature=udz4luvfMaSeUVaklEQyCYk8ZBE%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHsaCXVzLWVhc3QtMSJGMEQCIEwUPFOxCsREp%2FdppTB9AVB%2FGa91vIgEpIMlf%2BnLQFPhAiBY6H9ENa3ooQe%2FXbw%2B00OBn%2Bjxsq%2FKP%2BvkzEA8qiLuVCq7BQjT%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F8BEAAaDDkyNjA0MTIwMzkzNSIMSuRS%2FcN7MVC8UuY3Ko8Fz2Sqds4TBI0VylG6c8vfcjo1B6Q4J2u7lkb12ZOMH%2B3JGq9gSw%2BAEo2Nv9ocy9D%2F22nIGNRhICOLLbkZXs3rItrWxt%2FmEnERnKDKpMUBbQxmZc%2FO0p%2FolpoXF5mZbX%2F%2F%2FHiuXiBU%2FpGwPNU6VvFF0pv6j2qPwfWulPduWtr614Ql64v5O9ji7m1l4EL0iSbaaXQjDrX5Ap6dO5FSopxM9aQCTw1XdpFLBMY%2BAg5fU0zuZjdloOSe9ktICtJgnsBXxsfttC7imE0BDXfLxvTJ30tkcZg6RA0bNU2NgDtY%2BnCKzRIJQkqToVJtrA73rCjERIs8bR9Zf8P73D6Uj3yF0d%2FfAV7pGNIn8RjgJg95NjA7qZb8%2B%2FH5oPgJz3cAe8l6vuX3GaB0Pq44C6uWP9jOIUavbl5dz5ZANusM9hg6ymUUlQhu4eAXUJzPNJM1F%2B5nkXdQe%2BmBK8NzBlRnKgdg7SQgSrn0kC27y7ELATpYhGxgaRDX1YTqvHtKr67Ufe%2F5WyW0jUCY5SS4FulyTsh6SLwvtxNYC5RMtmAvZFLPXvHNqDyuSRJaBK6TO%2FCylEVeAcmtemiJzTFY8BjEeUz5WQYfXmfDaCCuy1BeOMlh8c2nuDPwnLDw5p13bJgwgAumDgR8bDyOYY8uoC6rcAF2K7KVppoKFhC1zWOATM4x5L19xrF4481Kns7O5G6cfd%2Fcycq%2B%2FwbIIoUE2fiXPzqhvFjrhv7YQ9%2BQBnhkjyt7FSzTjhbAnj08jnadktyyFau6LR9iz9mSfK1%2BVMupNtbcdV%2FWRotDDRuaa%2FGrmecU1DeSp7MRgKKGODO5zco31CBbOikyo53V%2FjmD6sNldQOqjdKJhXtb%2BJNwu0sJ88L4zTDK3LO4BjqyAd4bjK6M6OpsiKW5bxJlTXEiWulrCYiKETUmp1P%2FpdSpQIuaZLxVWFAFLtsS4%2FAPdvlL5V8E9%2BTeXKVB7GQrzun72OfLCEAG9XkymQScsFepHPbolWsGCCAO4ON7zoxiEXbT4A3IcV7AnQ8%2F4nVlJ%2FU99BwvVyu9hu9mr7B4j8jF6p3nR5j3mY%2FrlzjEilI6HZ0TaeTNExBKTv893ZMI131xKgssCJNksl%2BBz%2F1AftUnjz0%3D"&gt;&lt;div&gt;&lt;div&gt;18 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;Palm, left   &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;78&lt;span&gt;-&lt;span&gt;82&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;5 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;4 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;Lower back abrasion  &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;86&lt;span&gt;-&lt;span&gt;87&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;Mouth petechiae &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;95&lt;span&gt;-&lt;span&gt;96&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;&lt;div&gt;0 &lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;The prosecutor referenced some, but not all, of the admitted &lt;/div&gt;
&lt;div&gt;photographs during the forensic nurseâs &lt;span&gt;subsequent testimony.  &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2.&lt;span&gt; &lt;span&gt;Applicable Law and Analysis &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 39&lt;span&gt; &lt;/span&gt;&lt;span&gt;CRE 403 provides that relevant evidence may be excluded if its &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;probative value is substantially outweighed by, as relevant here, the &lt;/div&gt;
&lt;div&gt;danger of needless presentation of cumulative evidence.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;âEvidence &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that is âdecidedly different in character and impactâ is not &lt;/div&gt;
&lt;div&gt;cumulative.â  &lt;span&gt;People v. Vanderpauye&lt;span&gt;, 2021 COA 121, Â¶ 47 (quoting &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;People v. Genrich&lt;span&gt;, 2019 COA 132M, Â¶ &lt;span&gt;117)&lt;/span&gt; (Berger, J.&lt;span&gt;&lt;/span&gt;, specially &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;concurring)&lt;span&gt;, &lt;/span&gt;&lt;span&gt;affâd&lt;/span&gt;&lt;span&gt;, 2023 CO 42.  &lt;span&gt;  &lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 40&lt;span&gt; &lt;span&gt;Photographs of a victimâs injuries are generally relevant &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;because they show âwhether and how the offenses were committ&lt;span&gt;&lt;/span&gt;ed.â  &lt;/div&gt;
&lt;div&gt;People v. Herrera&lt;span&gt;, 2012 COA 13, Â¶ 34.  Photographs are not &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf14" data-page-no="14"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;19 &lt;/div&gt;
&lt;div&gt;inadmissible merely because they visually depict testimony alrea&lt;span&gt;&lt;/span&gt;dy &lt;/div&gt;
&lt;div&gt;given.  &lt;span&gt;People v. Maass&lt;/span&gt;, 981 P.2d 177, 187 (Colo. App. 19&lt;span&gt;&lt;/span&gt;98)&lt;span&gt;.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Otherwise relevant photographs are not rendered inadmissi&lt;span&gt;&lt;/span&gt;ble &lt;/div&gt;
&lt;div&gt;solely because they reveal shocking details of the crime.  &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 41&lt;span&gt; &lt;span&gt;â&lt;span&gt;Courts are given broad discretion in performing the CRE &lt;span&gt;&lt;/span&gt;403 &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;balancing test, and a trial courtâs balancing decision wi&lt;span&gt;&lt;/span&gt;ll not be &lt;/div&gt;
&lt;div&gt;disturbed absent an abuse of discretion.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;&lt;span&gt;People v. Garrison&lt;/span&gt;, 2012 &lt;/div&gt;
&lt;div&gt;COA 132M, Â¶ 16.  &lt;/div&gt;
&lt;div&gt;Â¶ 42&lt;span&gt; &lt;/span&gt;&lt;span&gt;We perceive nothing manifestly arbitrary, unreasonable, o&lt;span&gt;&lt;/span&gt;r &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;unfair about the trial courtâs evidentiary ruling here.  &lt;span&gt;See People v. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Pahlavan&lt;span&gt;, 83 P.3d 1138, 1140 (Colo. App. 2003) &lt;span&gt;(âThe fact t&lt;span&gt;&lt;/span&gt;hat &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;evidence is cumulative does not, by itself, render the evidence &lt;/div&gt;
&lt;div&gt;inadmissible.  Instead, admission of cumulative testimony is an &lt;/div&gt;
&lt;div&gt;abuse of discretion only if it is manifestly arbitrary, unreas&lt;span&gt;&lt;/span&gt;onable, &lt;/div&gt;
&lt;div&gt;or unfair under the circumstances.â). &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 43&lt;span&gt; &lt;/span&gt;&lt;span&gt;The prosecution had the burden to prove, as relevant &lt;span&gt;&lt;/span&gt;here, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that the victim was assaulted and sustained serious bodily inju&lt;span&gt;&lt;/span&gt;ry.  &lt;/div&gt;
&lt;div&gt;Bearing that in mind, the trial court carefully reviewed the &lt;/div&gt;
&lt;div&gt;challenged photographs to determine whether they depicted the &lt;/div&gt;
&lt;div&gt;same image or whether they showed a different angle, a dif&lt;span&gt;&lt;/span&gt;ferent &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf15" data-page-no="15"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;20 &lt;/div&gt;
&lt;div&gt;scale, or a measurement of the injury using a ruler.&lt;span&gt;&lt;/span&gt;  It ruled that &lt;/div&gt;
&lt;div&gt;the admitted photographs were decidedly different in character &lt;/div&gt;
&lt;div&gt;based on those features&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See Vanderpauye&lt;/span&gt;, Â¶ 47.  Careful not to &lt;/div&gt;
&lt;div&gt;needlessly present cumulative prejudicial evidence, the court &lt;/div&gt;
&lt;div&gt;excluded exhibits that were substantially similar.&lt;span&gt;  &lt;/span&gt;Having done that &lt;/div&gt;
&lt;div&gt;balancing, and reaching a reasonable result, we do not belie&lt;span&gt;&lt;/span&gt;ve the &lt;/div&gt;
&lt;div&gt;trial court abused its discretion.  &lt;span&gt;See Vigil v. People&lt;/span&gt;, 2019 CO 105, &lt;/div&gt;
&lt;div&gt;Â¶ &lt;span&gt;14&lt;/span&gt; (&lt;span&gt;â&lt;/span&gt;[R]eviewing courts have . . . been admonished from &lt;/div&gt;
&lt;div&gt;considering merely whether they would have reached the same &lt;/div&gt;
&lt;div&gt;conclusion and, instead, must affirm as long as the trial cou&lt;span&gt;&lt;/span&gt;rtâs &lt;/div&gt;
&lt;div&gt;decision fell within a range of reasonable options.â&lt;span&gt;)&lt;span&gt;. &lt;span&gt;  &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 44&lt;span&gt; &lt;/span&gt;&lt;span&gt;Further, even if some of the admitted exhibits bordered on t&lt;span&gt;&lt;/span&gt;he &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;cumulative side, that was not necessarily a basis to exclu&lt;span&gt;&lt;/span&gt;de them &lt;/div&gt;
&lt;div&gt;because they corroborated the victimâs testimony about her ass&lt;span&gt;&lt;/span&gt;ault &lt;/div&gt;
&lt;div&gt;and the forensic nurseâs testimony about the victimâs docume&lt;span&gt;nted &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;injuries.  &lt;span&gt;See Maass&lt;/span&gt;, 981 P.2d at 187. &lt;/div&gt;
&lt;div&gt;III.&lt;span&gt; &lt;span&gt;Cumulative Error &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 45&lt;span&gt; &lt;/span&gt;&lt;span&gt;Avila argues that together the alleged foregoing errors, even if &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;harmless individually, constitute cumulative error requiring&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;reversal.  âFor reversal to occur based on cumulative error, &lt;span&gt;&lt;/span&gt;a &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf16" data-page-no="16"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;21 &lt;/div&gt;
&lt;div&gt;reviewing court must identify multiple errors that collectively &lt;/div&gt;
&lt;div&gt;prejudice the substantial rights of the defendant, even if&lt;span&gt;&lt;/span&gt; any single &lt;/div&gt;
&lt;div&gt;error does not.â  &lt;span&gt;Howard-Walker v. People&lt;span&gt;, 2019 CO 69, Â¶ 25.  &lt;span&gt;&lt;/span&gt;But &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the claimed errors here do not merit reversal, alone or cumulat&lt;span&gt;&lt;/span&gt;ively, &lt;/div&gt;
&lt;div&gt;because we conclude that no error occurred.  &lt;span&gt;See People v. Da&lt;span&gt;&lt;/span&gt;ley&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2021 COA 85, Â¶ 141 (âThe doctrine of cumulative error &lt;span&gt;&lt;/span&gt;requires &lt;/div&gt;
&lt;div&gt;that numerous errors occurred, not merely that they were alleg&lt;span&gt;&lt;/span&gt;ed.â).  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;IV.&lt;span&gt; &lt;/span&gt;&lt;span&gt;Disposition &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 46&lt;span&gt; &lt;/span&gt;&lt;span&gt;The judgment is affirmed.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;JUDGE JOHNSON and JUDGE SCHOCK concur. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
